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v~..¢\.»~"¢ ____

DANIEL LUNA, Individually and on Beha]i`Of)
All Others Simi]arly Situated,

Plainti ff,
vS.

MARVELL TECHNOLOGY GROUP, LTD._,
et al.,

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

Case No. 3:15-cV-05447-WHA
(Cnnsolidated)
CLASS ACTION
SED] ORDER PRELIMINARILY
ROVING SETTLEMENT AND
PROVIDING FOR NOTICE

EXHIBIT A

 

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1 WHEREAS, an action is pending bel"ore this Court entitled Lurm v. Mm've/l Tec/inot'ogv

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Grc)up, Ltd., Case No. 3115-cv-05447-WHA (the “Litigation”);

3 Wl-IEREAS, the parties having made application pursuant to Federal Rule of Civil

4 Procedure 23(e). for an order preliminarily approving the settlement of this Litigation` in accordance

5 with a Stipulation ofSettlemcnt dated Deeember 19, 2017 (the “Stipulation”), which. together with

6 the Exhibits annexed thereto, sets forth the terms and conditions 1`or a proposed settlement ol` the

7 Litigation and for dismissal ol`the Litigation with prejudice upon the terms and conditions set forth
8 therein; and the Court having read and considered the Stipulation and the `Exhibits annexed thereto;
9 and

10 WHEREAS, unless otherwise dclined, all terms used herein have the same meanings as set

1 l forth in the Stipulation.

12 NOW, THEREFORE, IT IS l-IEREBY ORDERED:

13 1. The Court has reviewed the Stipulation and does hereby preliminarily approve the

14 settlement set forth therein, subject to further consideration at the Settlement Hearing described

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A hearing (the "Settlement Hearing”) shall be held bel`orc this Court on

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date that is at least 100 calendar days from the date ot`this Order]. at the United

 

18 States District Court For the Northcrn District ot` Caiil`ornia1 450 Golden Gate Avenue, San
19 Franciseo, CA 94102. to determine whether the proposed settlement of`the Litigation on the terms
20 and conditions provided t`or in the Stipulation is l`aii; reasonable. and adequate to the Class and
21 should be approved by the Court; whether a Jtldgment as provided in 1|1 . l l ol`the Stipulation should
22 be entered; whether the proposed Plan otA|loeation is f`air_ reasonable, and adequate and should be
23 approved: and to determine the amount ot` l`ees and expenses that should be awarded to Lead
24 Counsel.

25 3. The Court approves1 as to term and content, the Notiee ot` Proposed Settlement 01`
26 Class Action (the “Notiee”), the Proof` ol` Claim and Rclease l`orm (the “Prool` ot` Claim and
27 Releasc”), and the Summary Notice annexed hereto as Exhibits A- l , A-2, and A-B, respectively and

28 finds that the mailing and distribution ot the Notiee and publishing of the Summary Notiee1

 

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substantially in the manner and form set t`orth in ‘|1‘1|5-8 of this Ordcr, meet the requirements ot`
Federal Rulc ol` Civil Proccclure 23 and due process, and is the best notice practicable under the
circumstances and shall constitute due and sufficient notice to all Persons entitled thereto.

4. The firm ol` Gilardi & Co. LLC (“Claims Administrator”) is hereby appointed to
supervise and administer the notice procedure as well as the processing ol` claims as more l`ully set

forth below. \/

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5. Not later than :i/( , 2018 [ten (10) business days al`ter the Court signs and enters
this Order] (the “Notice Date"), the Claims Administrator shall commence mailing the Notice and
Proof of Claim and Releasc, substantially in the forms annexed hereto1 by First-Class Mail to all
Class l\/lembers who,can be identified with reasonable effort, including those Class Members who
received the Notice ot`Pendency ol`Class Action, and shall post the Notice and Pt'ool`ofClaim and
Release on its website at www.l\/larvellSecuritiesClassAction.com.

6. Not later than fourteen (14) calendar days al`ter the Notice Date, the Claims
Administrator shall cause the Summary Notice to be published once in the national edition ofThe
Wali Srreetjourna/ and once over a national newswire service

7. At least Fotri'teen (14) calendar days prior to the Settlcment Hearing. Lead Counsel
shall serve on Del`endants` counsel and tile with thc Court prool`, by at`[idavit or declaration, of such
mailing and publishing

8. Nominees who purchased or otherwise acquired l\/laivell common stock for the
beneficial ownership ol`Class l\/lembcrs during the Class Period shall send the Notice and the Proof
ol` Claim and Release to all such bcnelieial owners ol` Marvcll common stock within ten (10)
business days al`tcr receipt thereol" or, il`lhey have not already done so, send a list ol`thc names and
addresses ol` such benelieial owners to the Claims Administratoi' within ten (10) business days ol`
receipt thereo|`, in which event the Clailns Adrninistrator shall promptly mail the Notice and Proo{ol
Claim and Release to such beneficial owners. Lead Counsel shalL ilrequested. reimburse banks,
brokerage houses or other nominees solely t`or their reasonable out-ol`-pocket expenses incurred in

providing notice to benelieial owners who arc Class Mcmbers out ol` the Settlcment Fund, which

[PROPOSED[ ORDER PRELlMlNARlLY APPROVING SETTLEMENT AND PROVIDING FOR
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expenses would not have been incurred except for the sending of such notice` subject to further order
of this Court with respect to any dispute concerning such compensation

9. All l\/lembers of the Class shall be bound by all determinations andjudgments in the
Litigation concerning the settlement, whether favorable or unfavorable to the Class.

10. Class Members who wish to participate in the settlement shall complete and submit a
Proof of Claim and Rcleasc in accordance with the instructions contained therein. Unless the Court
orders otherwise, all Prool` of Claim and Release forms must be postmarked or submitted
electronically no later than one hundred and twenty (120) calendar days from the Notice Date. Any
Class Member who does not timely submit a Proofol`Claim and Release within the time provided
for, shall be barred from sharing in the distribution of the proceeds of the Settlcment Fund, unless
otherwise ordered by the Court. Notwithstanding the forcgoing, Lead Counsel may, in its discretion,
accept late-submitted claims for processing by the Claims Administrator so long as distribution of
the Net Settlcment Fund to Authorized Claimants is not materially delayed thereby.

1 l . Class Members shall be bound by all determinations and j udgments in this Litigation,
whether favorable or unfavorable unless they request exclusion from the Class in a timely and
proper manner1 as hereinafter providedl A Class l\/lember wishing to make such request shall mail a
request for exclusion in wlitt n form by First- Class l‘\/lail such that it is received, not simply
postmarked. on or befo1e /7?/;_~/_` 7 2018 [twenty- one (21) calendar days prior to the Settlcment
Hearing]. by the Claims Adrriinistiatot at the address designated in the Notice. Such request for
exclusion must state the namc, address1 and telephone number ol`the Pcrson seeking exclusion, must
state that the sender requests to be "‘excluded from the Class and does not wish to participate in the
settlement in Ltum v. Mnrvel[ Tee/molog_r Gronp, Ltci'., No. 3;15-cv-0544?-WHA (N.D. Cal.).” and
must be signed by such Pcrson. Sueh Persons requesting exclusion must also state the information
requested in the l\lotiee1 including, but not limited to: the date(s). price(s), and number(s) ofshares of
all purchases and acquisitions and/or sales of Marvcll common stock during the period from
February 19. 2015 through December "l, 2015, inclusive The request for exclusion shall not be
effective unless it provides the required in formation and is made within the time stated above, or the
exclusion is otherwise accepted by the Court. Class l\/lembers who make an effective request for

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exclusion from the Class shall not be bound by the settlement and shall not be entitled to receive any
payment out ofthe Net Settlcment Fund as described in the Stipulation and Notice.

12. Any l\/lember of the Class may enter an appearance in the Litigation, at their own
expense‘ individually or through counsel of their own choice. lf they do not enter an appearance
they will be represented by Lead Counsel.

I3. Any Membcr ofthe Class may appear and show cause why the proposed settlement
of the Litigation should or should not be approved as fair. reasonable, and adequate, why a judgment
should or should not be entered thereon1 why the Plan of Allocation should or should not be
approved, why attorneys` fees and expenses should or should not be awarded to counsel for the Lead
Plaintiff; provided, however, that no Class l\/Iember or any other Pcrson shall be heard or entitled to
contest such mattcrs, unless that Pcrson has submitted said objections, papers, and briefs to the Court
either by mailing them to the Class Action Clerk, United States District Court for the Northern
District ofCalifornia, San Franciseo Division1 450 Golden Gate Avenuc, San Franciseo, CA 94102,
or by filing them in person at any location of the United States District Court for the Northem
District of California or electronically by ECF on the docket for this case. Such objections, papers,

and briefs must be received or liled, not simply postmarked, on or before _i 17

_, 2018 [twenty-
one (21) calendar days prior to the Settlcment Hearing]. Any l\/lcmber of the Class who does not
make his. her or its objection in the manner and time provided for in the Notice shall be deemed to
have waived such objection and shall forever be foreclosed from making any objection to the
fairness or adequacy of the proposed settlement as set forth in the Stipulation, to the Plan of
Allocation, or to the award of attorneys’ fees and expenses to counsel for the Lead Plaintiff, unless
otherwise ordered by the Court. Attcndance at the Settlcment floating is not necessary, however,
persons wishing to be heard orally in opposition to approval ofthe settlemenL the Plan ofif‘tlloeation1
and/or the application for an award of attorneys` fees and expenses are required to indicate in their
written objection their intention to appear at the hcaring. Persons who intend to object to the
settlement, the Plan of Allocalion. and/or the application for an award of attorneys’ fees and
expenses and desire to present evidence at the Settlcment l~lcaring must include in their written
objections the identity ofany witnesses they may call to testify and copies of any exhibits they

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intend to introduce into evidence at the Settlcment Hearing. lf an objector hires an attorney to
represent him, her, or it for the purposes of making an objection, the attorney must file a notice of
appearance with the Court and effect service on the parties to the Litigation on or before 91 ?" 7
2018 [twenty-one (21) calendar days prior to the Settlcment Hearing].

14. All funds held by the Escrow Agent shall be deemed and considered to be in custodia
legis ofthe Court, and shall remain subject to the jurisdiction ofthe Court, until such time as such
funds shall be distributed pursuant to thc Stipulation and/or further order(s) of the Court.

15. All opening briefs and supporting documents in support ofthe settlement, the Plan of
Allocation1 and any application b counsel for the Lead Plaintiff for attorneys` fees and expenses
shall be filed and served by '; , 2018 [thirty-live (35) calendar da `s prior to the Settlcment
Hearing]. chlies to any objections shall be filed and setved by iile /{Zj , 2018 [fourteen (14)
calendar days prior to the Settlcment I-Iearing].

16. Neither the Defendants and their Rclated Parties nor the Defendants’ counsel shall
have any responsibility for the Plan ofAllocation or any application for attorneys` fees or expenses
submitted by Lead Plaintiff s Counsel, and such matters will be considered separately from the
fairness. rcasonablencss, and adequacy of the settlement

17. At or after the Settlcment Hcaring, the Court shall determine whether the Plan of
Allocation proposed by Lead Counsel, and any application for attorneys’ fees or payment of
expenses shall be approved

18. All reasonable expenses incurred in identifying and notifying Class lvlembers, as well
as administering the Settlcment l:und1 shall be paid as set forth in the Stipulation. ln the event the
settlement is not approved by the Court, or otherwise fails to become el`l`ective. neither Lead Plaintiff
nor any of its counsel shall have any obligation to repay any amounts incurred and properly
disbursed pursuant to 1|‘\|2. l 0 or 2.12 of the Stipulation.

19. Neither the Stipulation, nor the settlement contained therein nor any act perfonned or
document executed pursuant to or in furtherance of the Stipulation or the settlement (a) is or may be
deemed to be or may be used as an admission ol" or evidence of _ thc validity of any Released Claim1
the truth of any of the allegations in the Litigation, ol` any wrongdoing, fault. or liability of the

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Defendants or their respective Related Parties, or that the Lead Plaintiffor any Class Members have
suffered any damages, harm, or loss; or (b) is or may be deemed to be or may be used as an
admission of, or evidence of, any fault or omission of any Defendants or their respective Related
Parties in any civil. criminal, or administrative proceeding in any court, administrative agency, or
other tribunal.

20. The Court reserves the right to adjourn the date of the Settlcment Hearing without
further notice to the Members of the Class, and retains jurisdiction to consider all further
applications arising out of or connected with the proposed settlement The Court may approve the
settlement, With such modifications as may be agreed to by the Settling Parties, if appropriate,
without further notice to the Class.

21. In the event that the Stipulation is not approved by the Court or the settlement set
forth in the Stipulation is terminated or fails to become effective in accordance with its terms, the
Settling Parties shall be restored to their respective positions in the Litigation as of December 12,
2017. In such event, the terms and provisions of the Stipulation, except as set forth in the
Stipulation, shall be null and void, have no further force and effect, and shall not be used in the
Litigation or in any other proceeding for any purpose, and this Order, in accordance with the terms
of the Stipulation, shall be treated as vacated, nuncp)'o tunc, and shall not be used in this Litigation
or in any other proceeding for any purpose

22. Pending final determination of whether the proposed settlement should be approved,
neither the Lead Plaintiff nor any Class Member, directly or indirectly, representatively, or in any
other capacity, shall commence or prosecute against any of the Defendants, any action or proceeding

in any court or tribunal asserting any of the Released Claims.

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23. Pending further order of the Courl, all litigation activity1 except that contemplated
herein1 in the Stipulation_ in the Notice, in the Summary Notiee, or in the Judgrnent, is hereby stayed
and all hcarings, deadlines and other proceedings in this Litigation, except the Settlcment Hearing
and any deadlines set forth in this Order. arc hereby taken off calendar_

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DATED; / 7;/75/ ,/7 // C-C/q/`_/

 

 

THE HONORABLE WILLlAl\/l ALSUP
UNITED STATES DISTRICT JUDGE

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